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 TINITEDSTATESDISTRICTCOURT
 SOUTHERNDISTRICTOF NEW YORK


MICHAEL BROWN,on Behalfof Himself
and OthersSimilarly Situated,


                                      Plaintiff.                            (sAS)
                                                                    0s-cv-5442
        - agamst-


RAYMOND W. KELLY, Commissioner    of the
New York City PoliceDepartment(NYPD); et al.,

                                      Defendants.
                                                -----x

                                    NOTICE OF MOTION

                PLEASE TAKE NOTICE that upon the Memorandum of Law in Support of

Plaintiff s Motion for Contempt, the Declaration of J. McGregor Smyth, Jr., datedMarch 23,

2007 and the exhibits annexedthereto, and upon all prior pleadings,Plaintiff Michael Brown, by

his counselEmery Celli Brinckerhoff & Abady LLP and The Bronx Defenders,will move this

Court at the United StatesCourthousefor the ,o.r,n".n District of New York, ,OO,"*t     Street,

New York, New York, before the Honorable Shira A. Scheindlin, United StatesDistrict Judge,

for an Order:

                1.    Finding defendantsthe City of New York and Raymond W. Kelly,

Commissionerof the New York Cify Police Department,in civil contempt of this Court's June

23,2005 Order which prohibiteddefendants'enforcementof New York PenalLaw g 2a035(l);

                2.    Imposing prospectivecoercive sanctionson defendantsof $10,000 for

each future violation of the June 23, 2005 Order, payableto the Court, subject to an opportunity
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for defendantsto purgethemselvesof contemptandbe relievedof their obligationto pay any

finesby obeyingthe Court'sOrderandpublicly declaringtheir intentionto obeythe Order;

             3.     Awarding attorneys'feesand costsfor this motion; and

             4.    For suchotherand further relief asmay bejust and proper.


Dated:March23,2007
      New York, New York

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                                                        lly submitted,

                                               EMERY CELLI BRINCKERHOFF&
                                               ABADY LLP

                                               ;,,16                [r" ,, e
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                                               Attorneysfor Plaintiffand theputative class
